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NOT|CE OF APPEARANCE fN A CREM|NAL CASE

CLERK’S OFF|CE
UN|TED STATES DESTRICT COURT
FOR THE D|STR|CT OF COLUNIB|A
WASHENGTON, D.C. 20001

UN|TED STATES OF AMER|CA

VS¢ Crim§nai Number 17'(3"‘00182

GEORGE PAPADOPOULOS
(Defendant)

 

TO: ANGELA CAESAR, CLERK

YOU ARE HEREBY NOT!F!ED THAT | APF’EAR FOR THE DEFENDANT END|CATED
ABOVE !N THE ENT[TLED ACTION.

| A|`V\ APPEAR|NG lN TH|S ACT!ON AS: (P|ease check One)

m CJA RETAINED FEDERALPUBL!C DEFENDER

vw

  

PLEASE PRINT 'I`H§L1 FOLLOWING INF{]RMATION:

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